 Case 1:15-cv-00881-RGA Document 47 Filed 09/12/17 Page 1 of 1 PageID #: 942



                        IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF DELAWARE


JORGE SANTIAGO AGUILERA,

                      Plaintiff,

              v.                                  Civil Action No. 15-881-RGA

ZACHARY W. DAVIS, et al.,

                      Defendants.


                                        JUDGMENT

              For reasons set forth in the Court's Memorandum Opinion and Order dated

September 12, 2017 (D.I. 45 and D.I. 46);

              IT IS ORDERED AND ADJUDGED that judgment be and is hereby entered in

favor of Defendants Zachary W. Davis and Davis-Young Associates, Inc., and against Plaintiff

Jorge Santiago Aguilera.




                                                Jwmi,M~
                                                                                               I
                                                                                               I
                                                 (By) DeputyCief
                                                                                               t
                                                                                               l
                                                                                               I
                                                                                               !
